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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

KEVIN GREEN,                                         )
                                                     )
                             Petitioner,             )
                                                     )
                        v.                           )       No. 2:20-cv-00327-JPH-MJD
                                                     )
B. LAMMER,                                           )
                                                     )
                             Respondent.             )

              Order Dismissing Action and Directing Entry of Final Judgment

       Petitioner Kevin Green, an inmate at the Federal Correctional Institution in Terre Haute,

Indiana, brought this petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2241 challenging

the conditions of his confinement. In the Order of July 10, 2020, the Court reviewed Mr. Green's

petition pursuant to Rule 4 of the Rules Governing § 2254 Cases in the United States District

Courts and dismissed it because his claims are not appropriate for a habeas case. Dkt. 6. Mr. Green

was given a period of time to show cause why the action should not be dismissed. Id. Mr. Green

did not respond and the deadline to do so has passed. Accordingly, consistent with this Order of

July 10, 2020, Mr. Green's petition for a writ of habeas corpus is dismissed. Judgment consistent

with this Order shall now issue.

SO ORDERED.

Date: 10/20/2020




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Distribution:

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